Case 1:24-cv-04608-FB-VMS     Document 5     Filed 07/01/24   Page 1 of 2 PageID #: 49




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK


  MARTIN RADEV, Individually and on Behalf    Case No. 1:24-cv-04608-FB-VMS
  of All Others Similarly Situated,

                           Plaintiff,

                    v.

  KEITH PATRICK GILL,

                           Defendant.




                         NOTICE OF VOLUNTARY DISMISSAL
Case 1:24-cv-04608-FB-VMS              Document 5   Filed 07/01/24     Page 2 of 2 PageID #: 50




 TO:    ALL PARTIES AND THEIR COUNSEL OF RECORD

        WHEREAS, no defendant in the above-captioned action Radev v. Gill, 1:24-cv-04608-FB-

 VMS, brought before the United States District Court for the Eastern District of New York, has

 served an answer or motion for summary judgment;

        NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A), plaintiff Martin Radev hereby voluntarily dismisses the above-captioned action,

 without prejudice, as to defendant.

 Dated: July 1, 2024                                Respectfully submitted,

                                                    POMERANTZ LLP

                                                    /s/ Jeremy A. Lieberman
                                                    Jeremy A. Lieberman
                                                    J. Alexander Hood II
                                                    James M. LoPiano
                                                    600 Third Avenue, 20th Floor
                                                    New York, New York 10016
                                                    Telephone: (212) 661-1100
                                                    Facsimile: (917) 463-1044
                                                    jalieberman@pomlaw.com
                                                    ahood@pomlaw.com
                                                    jlopiano@pomlaw.com

                                                    Attorneys for Plaintiff




                                                1
